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16
17                       IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19   United States of America,                        No. CR-18-422-PHX-SPL (BSB)
20                        Plaintiff,
21                                                   UNITED STATES’ MOTION TO
              v.                                     EXTEND TIME FOR FILING ITS
22                                                        REPLY (Doc. 226)

23   Michael Lacey, et al.,

24                        Defendants.

25         The United States, by and through undersigned counsel, hereby moves for an
26   unopposed extension of time to file its reply to the Defendant’s Opposition to United
27   States’ Motion to Resolve Privilege Issues and Cross-Motion to Obtain Discovery and
28
      Case 2:18-cr-00422-DJH Document 229 Filed 07/24/18 Page 2 of 2




 1   Address Privilege Issues (Doc. 226). The current deadline is July 27, 2018. The United
 2   States’ requests the deadline be extended to August 10, 2018.
 3          Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
 4   an order based thereon.
 5          Respectfully submitted this 24th day of July, 2018.
 6                                             ELIZABETH A. STRANGE
                                               First Assistant United States Attorney
 7                                             District of Arizona
 8                                             s/ Kevin Rapp
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16                                             U.S. Department of Justice, Criminal Division
                                               Child Exploitation and Obscenity Section
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18                                      Certificate of Service:
19   I hereby certify that on this date, I electronically transmitted the attached document to the
     Clerk’s Office using the CM/ECF system for filing and transmittal of a Notice of Electronic
20   Filing to the following CM/ECF registrants: Anne Chapman, Erin McCampbell, Gregory
21   Zamora, James Grant, Larry Debus, Lawrence Kazan, Lee Stein, Paul Cambria, Robert
     Corn-Revere, Ronald London, Janey Henze Cook, John Littrell, Kenneth Miller, Thomas
22
     Bienart, Jr., Bruce Feder, Michael Kimerer, Rhonda Neff, KC Maxwell, David Wakukawa,
23   Michael Piccarreta, Stephen Weiss, Nanci Clarence, Jonathan Baum, David Botsford.
24
     s/Sally Hawley
25
     U.S. Attorney’s Office
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27
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